           United States District Court
                       Eastern District of Wisconsin
                        JUDGMENT IN A CIVIL ACTION

SHAWN D. JONES,
                           Plaintiff,

             v.                                      Case No. 16-CV-1303

JON LITSCHER and
REBECCA KENNEDY,
                           Defendants.

      Decision by Court. This action came for consideration before the Court. The
      issues have been considered and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED that the plaintiff’s complaint is DISMISSED
pursuant to 28 U.S.C. §§ 1915(e)(2)(B) and 1915A(b)(1) for failure to state a claim.

Date: April 10, 2017
                                        Jon W. Sanfilippo, Clerk of Court
                                        EASTERN DISTRICT OF WISCONSIN
                                        (By) Deputy Clerk, s/Mary Murawski
                                        Approved this 10th day of April, 2017.




                                        WILLIAM E. DUFFIN
                                        United States Magistrate Judge




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